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                             IN THE
                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

                                           )
UNITED STATES OF AMERICA                   )
                                           )      No. 23-CR-00054-1
         v.                                )
                                           )      Judge Ronald A. Guzman
THOMAS VINCENT GIRARDI                     )

ORDER FOR DETERMINATION OF COMPETENCY PURSUANT TO
                  18 U.S.C. § 4241(a)

      GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY FOUND

AND ORDERED THAT:

      There is reasonable cause to believe that defendant may be presently

suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his

defense, and a psychiatric or psychological examination of defendant shall be

conducted.

      The parties shall be prepared at the next status hearing to discuss the

posture of the case and how the competency proceedings shall proceed.



DATED: March 8, 2023          _______________________________
                              HONORABLE RONALD A. GUZMAN
                              UNITED STATES DISTRICT JUDGE
